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              EXHIBIT A
Tarrant County - Civil                                                                                                  Page 1 of 1

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  Civil - Case and Transaction Information                                                                           9/22/17 9:16 AM
  Cause Number:                017-294142-17                                                                    Date Filed: 08-25-2017
                    COLON TAYLOR                                                              ALLSTATE VEHICLE AND
                                                                  | VS |
                                                                                         PROPERTY INSURANCE COMPANY
  Cause of Action:             CONTRACT, CONSUMER/DTPA
  Case Status:                 PENDING
  File Mark      Description                                                                    Assessed Fee          Credit/Paid Fee
  08-25-2017 PLTF'S ORIG PET                                                     N I                   284.00
  08-25-2017 COURT COST (PAID) trans #1                                          Y                                         284.00
  08-25-2017 CIVIL CASE INFO SHEET                                                                                            0.00
  08-25-2017 SVC REQ FORM                                                        I                                            0.00
  08-25-2017 COPIES(SENT TO DP)                                                  N                      13.00
  08-25-2017 COURT COST (PAID) trans #5                                          Y                                          13.00
  08-25-2017 CIT Cert Mail-ISSUED ON ALLSTATE VEHICLE AND                        N     Svc              83.00
                 PROPERTY INSURANCE-On 08/28/2017
  08-25-2017 COURT COST (PAID) trans #7                                          Y                                          83.00
  09-12-2017 CIT Cert Mail Tr# 7 RET EXEC(ALLSTATE VEHICLE AND I                                                              0.00
                 PROPERTY INSURANCE COMPANY) On 08/31/2017

                                                       District Clerk's Office
                                               Tom Vandergriff Civil Courts Building
                                 100 N. Calhoun St., 2nd Floor, Fort Worth, Texas 76196, Contact Us
                 Please send questions and comments regarding the District Clerk web site to District Clerk Webmaster




https://egov.tarrantcounty.com/group/dc/civil?p_p_id=subscriberAccessCivil_WAR_subsc... 9/22/2017
       Case 4:17-cv-00774-A Document 1-1 Filed 09/22/17                Page 3 of 32 PageID 7
                                                                                                         FILED
                                                                                            TARRANT COUNTY
                                                                                             8/25/2017 8:24 AM
                                                  017-294142-17                            THOMAS A. WILDER
                                    CAUSE NO.                                                 DISTRICT CLERK

 COLON TAYLOR,                                        §         IN THE DISTRICT COURT OF
                                                      §
          Plaintiff,                                  §
                                                      §
 vs.                                                  §         TARRANT COUNTY, TEXAS
                                                      §
 ALLSTATE VEHICLE AND PROPERTY                        §
 INSURANCE COMPANY,                                   §
                                                      §                    JUDICIAL DISTRICT
          Defendant.                                  §

                             PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         Colon Taylor (“Mr. Taylor”), Plaintiff herein, files this Original Petition against Defendant

Allstate Vehicle and Property Insurance Company (“Allstate”) and, in support of his causes of

action, would respectfully show the Court the following:

                                               I.
                                          THE PARTIES

         1.      Colon Taylor is a Texas resident who resides in Tarrant County, Texas.

         2.      Allstate is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State of Texas, CT Corporation

System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, TX 75201-3140.

                                               II.
                                           DISCOVERY

         3.      This case is intended to be governed by Discovery Level 2.




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                                               III.
                                        CLAIM FOR RELIEF


        4.      The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000, but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s fees.

                                            IV.
                                  JURISDICTION AND VENUE

        5.      This court has subject matter jurisdiction of this cause of action because it involves

an amount in controversy in excess of the minimum jurisdictional limits of this Court. No diversity

of citizenship exists in this matter.

        6.      Venue is proper in Tarrant County because all or a substantial part of the events or

omissions giving rise to the claim occurred in Tarrant County. TEX. CIV. PRAC & REM CODE §

15.002(a)(1). In particular, the loss at issue occurred in Tarrant County.

                                             V.
                                    FACTUAL BACKGROUND

        7.      Mr. Taylor is a named insured under a property insurance policy issued by Allstate.

        8.      On or about March 29, 2017 a storm hit the Haslet, Texas area, damaging Mr.

Taylor’s house and other property. Mr. Taylor subsequently filed a claim on his insurance policy.

        9.      Defendant improperly denied and/or underpaid the claim.

        10.     The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

        11.     This unreasonable investigation led to the underpayment of Plaintiff’s claim.




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       12.     Moreover, Allstate performed an outcome-oriented investigation of Plaintiff’s

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff’s losses on the

property.

                                            VI.
                                     CAUSES OF ACTION

       13.     Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

       14.     Allstate had a contract of insurance with Plaintiff. Allstate breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.     Prompt Payment of Claims Statute

       15.     The failure of Allstate to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of

the Texas Insurance Code.

       16.     Plaintiff, therefore, in addition to Plaintiff’s claim for damages, is entitled to 18%

interest and attorneys’ fees as set forth in Section 542.060 of the Texas Insurance Code.

C.     Bad Faith/Deceptive Trade Practices Act (“DTPA”)

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated Section 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

       19.     Defendant violated Section 541.060 by:

               (1)    misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;




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              (2)    failing to attempt in good faith to effectuate a prompt, fair, and equitable

                     settlement of a claim with respect to which the insurer’s liability had

                     become reasonably clear;

              (3)    failing to promptly provide to Plaintiff a reasonable explanation of the basis

                     in the policy, in relation to the facts or applicable law, for the insurer’s

                     denial of a claim or offer of a compromise settlement of a claim;

              (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                     Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)    refusing to pay the claim without conducting a reasonable investigation with

                     respect to the claim;

       20.    Defendant violated Section 541.061 by:

              (1)    making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

                     misleading considering the circumstances under which the statements were

                     made;

              (3)    making a statement in a manner that would mislead a reasonably prudent

                     person to a false conclusion of a material fact;

              (4)    making a material misstatement of law; and

              (5)    failing to disclose a matter required by law to be disclosed.

       21.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       22.    Defendant has violated the Texas DTPA in the following respects:




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              (1)     Defendant represented that the agreement confers or involves rights,

                      remedies, or obligations which it does not have, or involve, or which are

                      prohibited by law;

              (2)     Allstate failed to disclose information concerning goods or services which

                      was known at the time of the transaction when such failure to disclose such

                      information was intended to induce the consumer into a transaction that the

                      consumer would not have entered into had the information been disclosed;

              (3)     Allstate, by accepting insurance premiums but refusing without a

                      reasonable basis to pay benefits due and owing, engaged in an

                      unconscionable action or course of action as prohibited by Section

                      17.50(a)(1)(3) of the DTPA in that Allstate took advantage of Plaintiff’s

                      lack of knowledge, ability, experience, and capacity to a grossly unfair

                      degree, that also resulted in a gross disparity between the consideration paid

                      in the transaction and the value received, in violation of Chapter 541 of the

                      Texas Insurance Code.

        23.   Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152(a)-(b).

D.      Attorneys’ Fees

        24.   Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

        25.   Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an




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attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30th day after the claim was presented.

        26.       Plaintiff further prays that he be awarded all reasonable attorneys’ fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                             VII.
                                    CONDITIONS PRECEDENT

        27.       All conditions precedent to Plaintiff’s right to recover have been fully performed,

or have been waived by Defendant.

                                            VIII.
                                     DISCOVERY REQUESTS

        28.       Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(l).

        29.       You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

                                                 IX.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Colon Taylor prays that, upon final hearing

of the case, he recover all damages from and against Defendant that may reasonably be established

by a preponderance of the evidence, and that Mr. Taylor be awarded attorneys’ fees through trial

and appeal, costs of court, pre-judgment interest, post-judgment interest, and such other and further

relief, general or special, at law or in equity, to which Mr. Taylor may show himself to be justly

entitled.




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                                Respectfully submitted,

                                DALY & BLACK, P.C.

                                By:    /s/ Andrew Taylor
                                       Richard D. Daly
                                       TBA No. 00796429
                                       rdaly@dalyblack.com
                                       ecfs@dalyblack.com
                                       Andrew Taylor
                                       TBA No. 24070723
                                       ataylor@dalyblack.com
                                       Charlie C. Gustin
                                       TBA No. 24078605
                                       cgustin@dalyblack.com
                                       David Bergen
                                       TBA No. 24097371
                                       dbergen@dalyblack.com
                                       2211 Norfolk St., Suite 800
                                       Houston, Texas 77098
                                       713.655.1405—Telephone
                                       713.655.1587—Fax

                                       ATTORNEYS FOR PLAINTIFF
                                       COLON TAYLOR




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               PLAINTIFF’S FIRST SET OF INTERROGATORIES,
         REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

       COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant (1) answer the following discovery requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service if the discovery was served prior to the date

an answer is due); (2) produce responsive documents to the undersigned counsel within the same

time period; and (3) serve its answers to these discovery requests within the same time period to

Plaintiff by and through his attorneys of record, Daly & Black, P.C, 2211 Norfolk St, Suite 800,

Houston, Texas 77098.


                                              Respectfully submitted,

                                              DALY & BLACK, P.C.

                                              By:     /s/ Andrew Taylor
                                                      Richard D. Daly
                                                      TBA No. 00796429
                                                      rdaly@dalyblack.com
                                                      ecfs@dalyblack.com
                                                      Andrew Taylor
                                                      TBA No. 24070723
                                                      ataylor@dalyblack.com
                                                      Charlie C. Gustin
                                                      TBA No. 24078605
                                                      cgustin@dalyblack.com
                                                      David Bergen
                                                      TBA No. 24097371
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                                                      2211 Norfolk St., Suite 800
                                                      Houston, Texas 77098
                                                      713.655.1405—Telephone
                                                      713.655.1587—Fax

                                                      ATTORNEYS FOR PLAINTIFF
                                                      COLON TAYLOR




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                                CERTIFICATE OF SERVICE

        I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it when
it was served with the citation.

                                                    /s/ Andrew Taylor
                                                    Andrew Taylor




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                                   INSTRUCTIONS


A.    These Responses call for your personal and present knowledge, as well as the present
      knowledge of your attorneys, investigators and other agents, and for information
      available to you and to them.

B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
      to these Requests for Production as they are kept in the usual course of business or
      organized and labeled to correspond to the categories in the requests within the time
      period set forth above at Daly & Black, P.C.

C.    If you claim that any document or information which is required to be identified or
      produced by you in any response is privileged, produce a privilege log according to the
      applicable rules of civil procedure.

      1.   Identify the document’s title and general subject matter;
      2.   State its date;
      3.   Identify all persons who participated in its preparation;
      4.   Identify the persons for whom it was prepared or to whom it was sent;
      5.   State the nature of the privilege claimed; and
      6.   State in detail each and every fact upon which you base your claim for privilege.

D.    If you claim that any part or portion of a document contains privileged information,
      redact only the part(s) or portion(s) of the document you claim to be privileged.

E.    If you cannot answer a particular Interrogatory in full after exercising due diligence to
      secure the information to do so, please state so and answer to the extent possible,
      specifying and explaining your inability to answer the remainder and stating whatever
      information or knowledge you have concerning the unanswered portion.

F.    You are also advised that you are under a duty to seasonably amend your responses if
      you obtain information on the basis of which:

      1. You know the response made was incorrect or incomplete when made; or
      2. You know the response, though correct and complete when made, is no longer true
         and complete, and the circumstances




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                                     DEFINITIONS

A.    “Defendant,” “You,” “Your(s),” refers to Allstate Vehicle and Property Insurance
      Company, its agents, representatives, employees and any other entity or person acting
      on its behalf.

B.    “Plaintiff” refers to the named Plaintiff in the above-captioned suit.

C.    “The Property(ies)” refers to the property or properties located at the address(es)
      covered by the Policy.

D.    “The Policy” refers to the policy issued to Plaintiff by the insurer and at issue in this
      lawsuit.

E.    “The Claim(s)” means the claim for insurance benefits submitted by Plaintiff and at
      issue in this lawsuit, or in a prior claim, as the context may dictate.

F.    “Date of Loss” refers to the date(s) of loss identified in Plaintiff’s live
      petition/complaint or other written or oral notice, or otherwise assigned to the claim by
      the insurer.

G.    “Handle” or “Handled” means investigating, adjusting, supervising, estimating,
      managing, settling, approving, supplying information or otherwise performing a task
      or work with respect to the claim(s) at issue in this lawsuit, excluding purely ministerial
      or clerical tasks.

H.    “Lawsuit” refers to the above styled and captioned case.

I.    “Communication” or “communications” shall mean and refer to the transmission or
      exchange of information, either orally or in writing, and includes without limitation
      any conversation, letter, handwritten notes, memorandum, inter or intraoffice
      correspondence, electronic mail, text messages, or any other electronic transmission,
      telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
      video recording, digital recording, discussion, or face-to-face communication.

J.    The term “Document” shall mean all tangible things and data, however stored, as set
      forth in the applicable rules of civil procedure, including, but not limited to all original
      writings of any nature whatsoever, all prior drafts, all identical copies, all nonidentical
      copies, correspondence, notes, letters, memoranda of. telephone conversations,
      telephone messages or call slips, interoffice memoranda, intraoffice memoranda, client
      conference reports, files, agreements, contracts, evaluations, analyses, records,
      photographs sketches, slides, tape recordings, microfiche, communications, printouts,
      reports, invoices, receipts, vouchers, profit and loss statements, accounting ledgers,
      loan documents, liens, books of accounting, books of operation, bank statements,
      cancelled checks, leases, bills of sale, maps, prints, insurance policies, appraisals,
      listing agreements, real estate closing documents, studies, summaries, minutes, notes,


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        agendas, bulletins, schedules, diaries, calendars, logs, announcements, instructions,
        charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
        matter, sound reproductions, however recorded, whether still on tape or transcribed to
        writing, computer tapes, diskettes, disks, all other methods or means of storing data,
        and any other documents. In all cases where originals, prior drafts, identical copies, or
        nonidentical copies are not available; “document” also means genuine, true and correct
        photo or other copies of originals, prior drafts, identical copies, or nonidentical copies.
        “Document” also refers to any other material, including without limitation, any tape,
        computer program or electronic data storage facility in or on which any data or
        information has been written or printed or has been temporarily or permanently
        recorded by mechanical, photographic, magnetic, electronic or other means, and
        including any materials in or on which data or information has been recorded in a
        manner which renders in unintelligible without machine processing.

K.      The term “referring” or “relating” shall mean showing, disclosing, averting to,
        comprising, evidencing, constituting or reviewing.

L.      The singular and masculine form of any noun or pronoun includes the plural, the
        feminine, and the neuter.

M.      The terms “identification,” “identify,” and “identity” when used in reference to:

     1. Natural Persons: Means to state his or her full name, residential address, present or
        last known business address and telephone number, and present or last known position
        and business affiliation with you;
     2. Corporate Entities: Means to state its full name and any other names under which it
        does business, its form or organization, its state of incorporation, its present or last
        known address, and the identity of the officers or other persons who own, operate, or
        control the entity;
     3. Documents: Means you must state the number of pages and nature of the document
        (e.g. letter or memorandum), its title, its date, the name or names of its authors and
        recipients, its present location and custodian, and if any such document was, but no
        longer is, in your possession or control, state what disposition was made of it, the date
        thereof, and the persons responsible for making the decision as to such disposition;
     4. Communication: Requires you, if any part of the communication was written, to
        identify the document or documents which refer to or evidence the communication and,
        to the extent that the communication was non-written, to identify each person
        participating in the communication and to state the date, manner, place, and substance
        of the communication; and
     5. Activity: Requires you to provide a description of each action, occurrence, transaction
        or conduct, the date it occurred, the location at which it occurred, and the identity of all
        persons involved.

N.      The term "Claim File" means the claim files and “field file(s),” whether kept in paper
        or electronic format, including but not limited to all documents, file jackets, file notes,
        claims diary or journal entries, log notes, handwritten notes, records of oral


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           communications, communications, correspondence, photographs, diagrams, estimates,
           reports, recommendations, invoices, memoranda and drafts of documents regarding the
           Claim.

   O.      The term "Underwriting File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such documents
           or information in order to make a decision regarding insuring Plaintiff's Property.



                             NOTICE OF AUTHENTICATION

       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered cause.




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                   INTERROGATORIES TO DEFENDANT ALLSTATE

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories.

       ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiff’s claim and provide the following
information for each person you identify:

       a.      their name and job title(s) as of the Date of Loss;
       b.      their employer; and
       c.      description of their involvement with Plaintiff’s Claim.

       ANSWER:

INTERROGATORY NO. 3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered losses under
               the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support of your decision
               regarding the Claim.

       ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state what was
changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiff did not provide you with requested information that was required to
properly evaluate Plaintiff’s Claim, identify the information that was requested and not provided,
and the dates you made those request(s).

       ANSWER:

INTERROGATORY NO. 6:
If you contend that Plaintiff’s acts or omissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:


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INTERROGATORY NO. 7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy in any
way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation.

        ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 11:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so, and
identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:




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              REQUEST FOR PRODUCTION TO DEFENDANT ALLSTATE

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

RESPONSE:


REQUEST FOR PRODUCTION NO. 2
Produce your complete Underwriting File for Plaintiff’s policy of insurance with you.

RESPONSE:


REQUEST FOR PRODUCTION NO. 3
Produce the complete Claim File including all documents, notes, comments, and communications
regarding the Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 4
Produce all documents Plaintiff (or any other person) provided to you related to the Claim or the
Property.

RESPONSE:


REQUEST FOR PRODUCTION NO. 5
Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
Property.

RESPONSE:


REQUEST FOR PRODUCTION NO. 6
Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss, or
adjuster’s report(s)) referring to the Claim, the Property or damage to the Property.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 7
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiff’s Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 8
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, and/or adjusting Plaintiff's Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 9
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or this Lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 10
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiff’s Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (1) year after the Date of
Loss.

RESPONSE:


REQUEST FOR PRODUCTION NO. 11
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

RESPONSE:


REQUEST FOR PRODUCTION NO. 12
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 13
Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters and
alerts directed to all persons acting on your behalf that were issued from six (6) months before and
after the Date of Loss related to the handling of wind or hail storm claims in connection with the
storm at issue.

RESPONSE:


REQUEST FOR PRODUCTION NO. 14
Produce the contract(s), agreement(s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiff’s Claim
on your behalf that were in effect on the Date of Loss.

RESPONSE:


REQUEST FOR PRODUCTION NO. 15
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiff’s Claim on your behalf
that were in effect at the time of his/her investigation, handling and/or adjustment of Plaintiff’s
claim, either pre or post-lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 16
Produce the “Pay sheet,” “Payment Log,” or list of payments made on Plaintiff’s Claim, including
all indemnity, claim expenses and payments made to third-parties.

RESPONSE:


REQUEST FOR PRODUCTION NO. 17
Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting firms in connection with the Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 18
Produce all estimates, reports, or memoranda, including drafts of the same, created for you by any
engineers and/or engineering firms in connection with the Claim.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 19
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiff’s Claim and/or any issue in Plaintiff’s live petition

RESPONSE:


REQUEST FOR PRODUCTION NO. 20
Produce all documents you identified, referred to, or relied upon in answering Plaintiff’s
interrogatories.

RESPONSE:


REQUEST FOR PRODUCTION NO. 21
Please produce the Claims Core Process Review in effect during the handling of the claim made
the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 22
Please produce all versions of the Claims Core Process Review in effect for the three years
preceding the handling of the claim made the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 23
For any changes made in the last three years to your Claims Core Process Review, please
produce all documents, supporting information, research, studies and communications regarding
such changes.

RESPONSE:


REQUEST FOR PRODUCTION NO. 24
Any requests for information by the Texas Department of Insurance to Defendant and any
response to such request by Defendant to the Texas Department of Insurance regarding claims
arising out of the March 29, 2017 storm.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 25
All documents sent to, or received by Defendant from the Texas Department of Insurance, the
Texas Insurance Commissioner and/or their agents, relating to the handling of hail and/or
windstorm claims within the last three (3) years. This request includes all bulletins received by
Defendant.

RESPONSE:


REQUEST FOR PRODUCTION NO. 26
All advertisements, marketing or promotional items that addressed the handling of hail and/or
windstorm claims, published, used and/or distributed by Defendant in Tarrant County within the
last three (3) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27
Your written procedures or policies that pertain to the handling of windstorm and/or hail claims
in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 28
For any changes made in the last three years to your written procedures or policies pertaining to
the handling of windstorm and/or hail claims in Texas, please produce all documents, supporting
information, research, studies and communications regarding such changes.

RESPONSE:


REQUEST FOR PRODUCTION NO. 29
Any document setting forth Defendant’s criteria and methodology used in determining whether
and how to apply depreciation on hail and/or windstorm claims in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 30
Any document setting forth Defendant’s criteria and methodology used in determining whether
to replace the drip edge on a roof when Defendant has estimated a roof replacement on a hail
and/or windstorm claim.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 31
Any document setting forth Defendant’s criteria and methodology used in determining the
applicability of overhead and profit in the preparation of estimates for hail and/or windstorm
claims in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 32
All service agreements in effect at the time of Plaintiff’s claim between Defendant and any
person(s) or entity(ies) who handled the claim made the basis of the lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 33
Any document setting forth how Defendant compensated the adjuster and other individuals who
handled Plaintiffs’ claim made the basis of this suit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 34
Any document related to performance-based pay or incentive-based pay programs that
Defendant offers to adjusters, claim representatives, supervisors and managers involved in the
handling of hail/and or windstorm claims.

RESPONSE:


REQUEST FOR PRODUCTION NO. 35
Any document related to standards by which Defendant evaluates the performance of adjusters,
claim representatives, supervisors and managers involved in the handling of hail/and or
windstorm claims.

RESPONSE:


REQUEST FOR PRODUCTION NO. 36
All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim made the
basis of this Lawsuit, including any changes to the reserve(s) along with any supporting
documentation.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 37
Any document related to how Defendant issues pay raises and bonuses to adjusters, claim
representatives, supervisors and managers involved in the handling of hail/and or windstorm
claims.

RESPONSE:


REQUEST FOR PRODUCTION NO. 38
Any document referencing “customer-payment goals” sent by Defendant to claims office
managers regarding hail and/or windstorm claims in Texas during the time period of January 1,
2016 through August 31, 2017.

RESPONSE:


REQUEST FOR PRODUCTION NO. 39
Any document setting forth Defendant’s criteria and methodology used to determine when it
appropriate to invoke appraisal on a hail/windstorm claim in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 40
Any document setting forth Defendant’s criteria and methodology used to determine what items
contained within an appraisal estimate and/or appraisal award should be covered and paid for by
Defendant.

RESPONSE:


REQUEST FOR PRODUCTION NO. 41
Any and all communications between Defendant and any third party during the claims handling
process of the claim made the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 42
Produce all documents evidencing any incentives, financial or otherwise, provided to adjusters
responsible for handling claims related to this loss, and this storm event.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 43
Produce all communications between any Allstate representative and any adjuster handling a
claim pertaining to this storm event, related to the company’s loss ratio.

RESPONSE:


REQUEST FOR PRODUCTION NO. 44
Please produce all documents related to Allstate’s Claims Core Process Review, including any
such training material provided to adjusters.

RESPONSE:


REQUEST FOR PRODUCTION NO. 45
Please produce all Performance Development Summaries and any other related personnel file
pertaining to any adjuster that handled the claim at issue here.

RESPONSE:


REQUEST FOR PRODUCTION NO. 46
Please produce all documents related to how adjusters and other related claims handlers are
promoted within Allstate.

RESPONSE:


REQUEST FOR PRODUCTION NO. 47
Please produce all records related to any data stored or generated by Colossus pertaining to this
storm event and claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 48
Please produce all records and documents about the identification, observation or description of
collateral damage in connection with the property at issue in this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 49
To the extent that you claim a privilege over any documents, please provide a privilege log in
accordance with the Texas Rules of Civil Procedure.

RESPONSE:


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              REQUEST FOR ADMISSIONS TO DEFENDANT ALLSTATE

REQUEST FOR ADMISSION NO. 1:
Admit that on Date of Loss the Property sustained damages caused by a windstorm.

       RESPONSE:

REQUEST FOR ADMISSION NO. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailstorm

       RESPONSE:

REQUEST FOR ADMISSION NO. 3:
Admit that as of the Date of Loss the Policy was in full force and effect.

       RESPONSE:

REQUEST FOR ADMISSION NO. 4:
Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 5:
Admit that the Policy is a replacement cost value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 6:
Admit that the Policy is an actual cash value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 7:
Admit that aside from the Claim at issue, Plaintiff has never previously submitted a claim to you
for damage to the Property.

       RESPONSE:




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  Case 4:17-cv-00774-A Document 1-1 Filed 09/22/17                Page 27 of 32 PageID 31


REQUEST FOR ADMISSION NO. 8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection with the
Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 9:
Admit that you did not request a Sworn Proof of Loss from any other named insured on the
Policy in connection with the Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 10:
Admit that Plaintiff timely submitted the Claim.

       RESPONSE:

REQUEST FOR ADMISSION NO. 11:
Admit that your decision to deny or partially deny Plaintiff’s Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

       RESPONSE:

REQUEST FOR ADMISSION NO. 12:
Admit that Defendant’s decision to deny or partially deny Plaintiff’s Claim was made in whole
or in part on the basis that the claimed damages are not covered by the Policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 13:
Admit that Defendant’s decision to deny or partially deny Plaintiff’s Claim was made in whole
or in part on the timeliness of the Claim’s submission.

       RESPONSE:




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REQUEST FOR ADMISSION NO. 14:
Admit that you depreciated the costs of labor when determining the actual cash value of the
Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at
any time during the adjustment of the Claim.

       RESPONSE:

REQUEST FOR ADMISSION NO. 16:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

       RESPONSE:

REQUEST FOR ADMISSION NO. 17:
Admit that you reinsured the risk under Plaintiff’s Policy.

       RESPONSE:




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                                                                   cause Number 017-294142-17
                       COLON TAYLOR                                                                                    ALLSTATE VEHICLE AND
                                                                                                 vs                 PROPERTY INSURANCE COMPANY


                                                                                   OFFICER'S RETURN

   Received    this     Citation By Certified Mail                                  on   the 28th day of August, 2017   at 12:36 PM; and             executed   at
    B/S REG AGT-CT CORPORATION SYSTEM 1999 BRYAN ST STE 900 DALLAS TX 75201 3140


   within the county of ------------------------------State of TX on the                                   31st day of August, 2017   by mailing                to
   the within named     ALLSTATE VEHICLE AND PROPERTY INSURANCE                              a true copy of this Citation By Certified Mail
   together with the accompanying copy of:
    PLAINTIFF'S ORIGINAL PETITION




                 Authorized Person/Constable/Sheriff: Thomas A. Wilder




   Fees $


   (Must be verified if served outside the State of Texas)
   State of                                           County of
   signed and sworn to by the said                                                                       before me this - - - - - - - - - - - - -
   to certify which witness my hand and seal of office



   (Seal)
                                                                           County of Tarrant, State of Texas




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            Case 4:17-cv-00774-A Document 1-1 Filed 09/22/17 Page 31 of 32 PageID 35
                                        THE STATE OF TEXAS                     ORIGINAL
                                 DISTRICT COURT, TARRANT COUNTY

                                                               CITATION                         Cause No. 017-294142-17
                                         COLON TAYLOR
                                                      VS.
                              ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

  TO: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
                                                        B/S REG AGT-CT CORPORATION SYSTEM 1999 BRYAN ST STE 900 DALLAS, TX 75201·314
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  You said DEFENDANT are hereby commanded to appear by filing a written answer to the       PLAINTIF~~IGI~ P~!BN
  at or before 10 o'clock A.M. of the Monday next after the expiration of 20 days after the da~ ~eer~e h~Pf
  before the 17th District Court in and for Tarrant County, Texas, at the Courthouse in the cit.)(      tf        Fort-WortJr.)fll
  Tarrant County, Texas said PLAINTIFF being                                                      · - ....-,.,:      ')>      . .~·.::. ·.__


  COLON TAYLOR


  Filed in said court on   August 25th, 2017 Against
  ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY


  For suit, said suit being numbered 017-294142-17 the nature of which demand is as shown on said
  PLAINTIFF'S ORIGINAL PETITION    a copy of which accompanies this citation.



                                                            ANDREW TAYLOR
                                               Attorney for COLON TAYLOR Phone No. (713)655-1405
                                               Address      2211 NORFOLK ST STE 800 HOUSTON, TX
           Thomas A. Wilder            Clerk of the District Court of Tarrant County, Texas.
  of said Court, at office in the City of Fort Worth, this
                                                           By~~~~~~~~~~------~t~~
  NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written
  clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days af•,~i>·vou···~;:re
  served this citation and petition, a default judgment may be taken against you.
            Thomas A. Wilder. Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                      OFFICER'S RETURN *01729414217000007*
  Received this Citation on the ______ day of                                          at         o'clock ___M; and executed at

  ----------------------------------- within the county of ----------------' State of ________ at ------- o'clock ___M
  on the _______ day of -----------------' ------ by mailing to the within named


  a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION                having first
  endorsed on same the date of delivery.



                           Deputy/Constable/Sheriff:
                                                                       By __________________________________________ Deputy
  County of --------------------------- State of
  Fees $ _______
  State of -------------- County of                                      (Must be verified if served outside the State of Texas)
  Signed and sworn to by the said ----------------------------------- before me this ____ day of --------
  to certify which witness my hand and seal of office
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                   Case 4:17-cv-00774-A Document 1-1 Filed 09/22/17                                                Page 32 of 32 PageID 36




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   or on the front If space pennits.                                                                                                       :r: ,._,
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